         Case 1:17-cv-02458-TSC     Document 16      Filed 02/27/18    Page 1 of 45




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


National Women’s Law Center, et al.,

      Plaintiffs,

vs.                                            Civil Action No. 17-2458 (TSC)

Office of Management and Budget, et al.,

      Defendants.




OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT




                                           i
          Case 1:17-cv-02458-TSC                          Document 16                 Filed 02/27/18               Page 2 of 45




                                                         Table of Contents
Introduction ......................................................................................................................................1
Background ......................................................................................................................................3
   I. The Pay Gap ..............................................................................................................................3
   II. The Paperwork Reduction Act ................................................................................................3
   III. The EEO-1..............................................................................................................................5
   IV. The EEOC’s Administrative Process Leading Up To The Revision Of The EEO-1 ............6
   V. The OMB’s Decision To Review And Stay The Revised EEO-1 Pay Data Collection .......11
Standard of Review ........................................................................................................................13
Argument .......................................................................................................................................15
  I. Plaintiffs Have Standing To Challenge The Review And Stay Of EEO-1 Pay Data
     Collection ................................................................................................................................15
       A. The Stay Injures NWLC And LCLAA .............................................................................17
                  1. Plaintiffs’ Education And Advocacy Efforts Are Harmed By The Loss Of
                     EEOC’s Publication Of Aggregate Pay Data .......................................................19
                  2. Plaintiffs’ Efforts To Obtain Favorable Outcomes For Their Clients And
                     Members, Respectively, Are Limited By The Stay Of Pay Data Collection .......26
                  3. Plaintiffs’ Injuries Are Cognizable Even Though The EEO-1 Had Not
                     Previously Collected Pay Data .............................................................................28
       B. Plaintiffs’ Injuries Were Caused By Defendants’ Actions And Are Redressable
          By The Relief Sought .......................................................................................................33
   II. The Stay Is Final Agency Action Reviewable By This Court ...............................................36
       A. Staying A Regulatory Mandate Is A Final Decision, Regardless Of Whether It Is
          Part Of A “Reconsideration” Process ...............................................................................37
       B. Staying The Pay Data Collection Determines Rights and Obligations, And Has
          Legal Consequences .........................................................................................................40
Conclusion .....................................................................................................................................42




                                                                        ii
       Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 3 of 45




                                        INTRODUCTION

       This case challenges the Office of Management and Budget’s (OMB) decision to

suddenly halt—without public process or meaningful explanation—a collection of pay data

conducted by the Equal Employment Opportunity Commission (EEOC) pursuant to Title VII of

the Civil Rights Act. This pay data collection was previously approved by OMB under the

Paperwork Reduction Act (PRA) in September 2016 with the first scheduled collection due in

March 2018. Then, under the new Administration, and without notice or reasoned explanation,

OMB stayed the collection by a memo of one-and-a-half pages dated August 29, 2017.

       The EEOC’s decision to collect the pay data at issue came after a lengthy and robust

public process and was based on the EEOC’s conclusion that collecting this information is

necessary to remedy persistent wage gaps correlated with sex, race, and ethnicity. Specifically,

the stayed information collection added an inquiry regarding employee pay to the EEOC’s

longstanding survey of the sex, race, and ethnicity of certain private employees. The EEOC

found that this collection was necessary for it to “efficiently and effectively” investigate pay

discrimination charges and enforce associated civil rights laws. The EEOC also determined that

this data collection would promote voluntary employer compliance with anti-discrimination laws

and, as a result of EEOC publication, would make useful comparative data on pay available to

the public, including to employees and their advocates.

       OMB exceeded its legal authority in suddenly staying this data collection, including by

failing to provide any credible explanation for its reversal in course, which contravenes the

PRA’s prohibition on interfering with the EEOC’s enforcement of civil rights laws. Indeed,

OMB gave virtually no explanation whatsoever for its stay, simply parroting the regulatory

standards and providing one unfounded factual justification. Notably, Defendants’ pending

motion to dismiss does not defend OMB’s action on the merits, relying instead on threshold
                                                  1
          Case 1:17-cv-02458-TSC        Document 16       Filed 02/27/18      Page 4 of 45




challenges to Plaintiffs’ standing and the finality of OMB’s action. Neither of these threshold

arguments survives scrutiny.

          First, OMB’s baseless stay injures Plaintiffs, the National Women’s Law Center (NWLC)

and Labor Council for Latin American Advancement (LCLAA), and therefore confers Article III

standing. The stay deprives both of these Plaintiffs of aggregate pay information that the EEOC

had committed to publish, and which is of incomparable value to Plaintiffs’ public education and

advocacy efforts. OMB’s stay also hampers Plaintiffs’ respective abilities to obtain redress for

their clients or beneficial outcomes for their members under the civil rights laws. Under settled

D.C. Circuit law, including People for the Ethical Treatment of Animals v. U.S. Department of

Agriculture (“PETA”), 797 F.3d 1087 (D.C. Cir. 2015), both Plaintiffs have standing to

challenge the unlawful stay. Defendants’ argument that Plaintiffs must demonstrate a statutory

mandate for the collection of the specific information at issue is wrong because it conflates the

limited doctrine of informational standing with the established principle that an organization may

be cognizably injured by the loss of access to useful information. For these same reasons,

Plaintiffs’ harm is caused by Defendants and redressable through this suit, further supporting

Article III standing.

          Second, OMB’s stay qualifies, under binding precedent, as final agency action which the

Court may review. OMB lifted, indefinitely, the date by which covered employers were required

to submit pay data to the EEOC. This action by OMB creates legal consequences now—relieving

covered employers from the obligation to submit the required data and depriving the EEOC and

the public of this data. Defendants’ claim that final agency action is absent simply ignores that

the D.C. Circuit has repeatedly concluded that staying the effective date of a rule is final agency

action.



                                                 2
          Case 1:17-cv-02458-TSC         Document 16        Filed 02/27/18     Page 5 of 45




          Plaintiffs respectfully request therefore that the Court deny Defendants’ motion to

dismiss.

                                          BACKGROUND

     I.   THE PAY GAP

          Persistent gaps in pay exist between women, especially women of color, and white men.

Women working full time, year-round are typically paid 80 cents for every dollar paid to their

male counterparts. Black women typically make only 63 cents, Native American women only 57

cents, and Latinas only 54 cents for every dollar paid to white, non-Hispanic men for full-time,

year-round work.1 The wage gap is wider still for women who are immigrants.2 Men of color

experience similar pay disparities compared to white, non-Hispanic men. For every dollar paid to

white, non-Hispanic men, Black men are paid 72 cents and Latino men are paid 62 cents. See

Complaint, Dkt. No. 1 (Compl.), ¶¶ 2-3.

    II.   THE PAPERWORK REDUCTION ACT

          The Paperwork Reduction Act, 44 U.S.C. §§ 3501, et seq., was intended to “improve the

quality and use of Federal information to strengthen decisionmaking, accountability, and

openness in Government and society.” 44 U.S.C. § 3501. To that end, the PRA attempts to strike

a balance between “ensur[ing] the greatest possible public benefit from and maximiz[ing] the

utility of information created, collected, maintained, used, shared, and disseminated by or for the

Federal Government” and minimizing the paperwork burden imposed when the federal



1
 Nat’l Women’s Law Ctr., Workplace Justice: FAQs About the Wage Gap (Sept. 2017),
https://nwlc.org/wp-content/uploads/2017/09/FAQ-About-the-Wage-Gap-2017.pdf.
2
 Nat’l Women’s Law Ctr., Labor Council for Latin Am. Adv., Workplace Justice: Equal Pay for
Latinas (Oct. 2016), https://nwlc.org/wp-content/uploads/2016/10/Latina-Equal-Pay-2016-
English-Final.pdf.

                                                   3
       Case 1:17-cv-02458-TSC          Document 16        Filed 02/27/18      Page 6 of 45




government collects information from individuals, entities, and State, local and tribal

governments. Id.

       Through the PRA, Congress established a process by which agencies obtain approval

from OMB to collect certain types of information from the public. The agency must first conduct

its own evaluation of the plan for a proposed information collection, including the need for the

information and the burden imposed by collection. 44 U.S.C. § 3506(c)(1)(A). In most cases, the

PRA requires that an agency publish a “60-day notice” in the Federal Register soliciting public

comment on the agency’s proposed collection. 44 U.S.C. § 3506(c)(2). After the conclusion of

the 60-day comment period, the agency’s internal consideration of the public’s comments, and

any appropriate revisions, the agency then submits the proposed collection of information to

OMB and publishes a second Federal Register notice to announce the start of OMB review and a

30-day comment period. 44 U.S.C. § 3507(a)-(b). The second notice informs the public about

how to submit comments to OMB and that OMB may act on the agency’s request only after the

30-day comment period has closed.

       After these two public comment periods, OMB, through OIRA, may approve or

disapprove the proposed collection of information. 44 U.S.C. § 3507(c). Approval requires a

determination that collection of information “is necessary for the proper performance of the

functions of the agency, including whether the information shall have practical utility.” 44

U.S.C. § 3508. An OMB approval of a collection of information lasts for up to a three-year

period, after which the agency must seek an extension of OMB’s approval if it wishes to

continue the collection of information. 44 U.S.C. § 3507(g)-(h).

       Importantly, approval or disapproval under the PRA cannot interfere with an agency’s

enforcement of civil rights laws. Specifically, the PRA makes clear that “[n]othing in this chapter



                                                 4
       Case 1:17-cv-02458-TSC           Document 16       Filed 02/27/18      Page 7 of 45




shall be interpreted as increasing … the authority of [OMB] with respect to … the substantive

authority of any Federal agency to enforce the civil rights laws.” 44 U.S.C. § 3518(e).

        OMB’s regulations permit it to review an ongoing and previously approved collection of

information when “relevant circumstances have changed or the burden estimates provided by the

agency at the time of initial submission were materially in error.” 5 C.F.R. § 1320.10(f). With

respect to information collections not contained in a current rule, OMB’s regulations also permit

it to stay the prior approval of a collection of information, but only for “good cause.” 5 C.F.R. §

1320.10(g).3

III.   THE EEO-1

       Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, et. seq., requires employers to

“make and keep records relevant to the determination of whether unlawful employment practices

have been or are being committed,” to preserve such records, and to produce reports as the

EEOC prescribes by regulation or order. 42 U.S.C. § 2000e-8(c). Pursuant to this statutory

authority, since 1966, the EEOC has required that employers with 100 or more employees file

with the EEOC a survey known as the “Employer Information Report EEO-1” (EEO-1). 29

C.F.R. § 1602.7. This requirement also applies to certain federal contractors and subcontractors

with more than 50 employees, for whom it is enforced by the Office of Federal Contract

Compliance Programs (OFCCP) in the U.S. Department of Labor (DOL). 41 CFR §60-1.7. The

EEO-1 has been revised from time to time by the EEOC and, before the revision requiring



3
  For the purpose of responding to Defendants’ motion to dismiss, Plaintiffs will assume the
lawfulness of OMB’s regulations purportedly authorizing it to re-review and stay previously
approved collections, as Defendants’ standing and finality arguments do not hinge on the
lawfulness vel non of the regulations.




                                                 5
         Case 1:17-cv-02458-TSC         Document 16       Filed 02/27/18      Page 8 of 45




submission of pay data information, directed covered employers to report annually the number of

individuals employed by job category and by sex, race, and ethnicity. Compl. ¶ 57. The EEO-1

currently includes seven race and ethnicity categories and ten job categories. Id.

         The EEOC and OFCCP use EEO-1 data to support civil rights enforcement and to

analyze and inform the public about employment patterns, such as the representation of women

and minorities within companies, industries, or regions. Compl. ¶ 58. EEO-1 data also helps to

show trends regarding hiring, promotions, and employee turnover within certain sectors. Id.

Although the EEOC keeps individually identifiable information confidential, it makes aggregate

EEO-1 information for major geographic areas and industry groups publicly available, Id. ¶ 59,

which it has done on an annual basis for at least twenty years.4 In addition, the EEOC

periodically publishes special reports based on aggregate data collected from the EEO-1, such as

Women of Color: Their Employment in the Private Sector, American Experiences Versus

American Expectations, and Diversity in High Tech.5

IV.      THE EEOC’S ADMINISTRATIVE PROCESS LEADING UP TO THE REVISION OF THE
         EEO-1.

         The EEOC’s decision to collect pay data at issue here resulted from a years-long

interagency process of careful study and robust public comment.

         First, in 2010, the EEOC joined other federal agencies to identify ways to improve

enforcement of federal laws prohibiting pay discrimination. Compl. ¶ 62. Thereafter the EEOC

commissioned multiple studies regarding how to collect pay data most efficiently and effectively

to support its pay discrimination enforcement efforts. Id. ¶¶ 63-64. The first study concluded that


4
 See EEOC, Job Patterns for Minorities and Women in Private Industry (EEO-1),
https://www.eeoc.gov/eeoc/statistics/employment/jobpat-eeo1/.
5
    EEOC, Special Reports, https://www.eeoc.gov/eeoc/statistics/reports/index.cfm.

                                                 6
       Case 1:17-cv-02458-TSC           Document 16         Filed 02/27/18      Page 9 of 45




using the EEO-1 for pay data collection would be “quite manageable for both the EEOC and the

respondents” and recommended that following development of a comprehensive plan for use of

pay data, the EEOC create a pilot study to test data collection and the plan for its use. Id. ¶ 63.

The second study, which was the recommended pilot study, made several technical

recommendations, including that the EEOC use the IRS’s W-2 definition of pay, because it

offers a “comprehensive picture of earnings data and may not create a measurable burden for

most respondents.” Id. ¶ 65. As part of its information gathering efforts, the EEOC also

conducted a two-day “work group” meeting in March 2012 with employer representatives,

statisticians, human resources information systems experts, and information technology

specialists regarding pay data collection. Id. ¶ 66. This work group concluded that for EEO-1

filers, “[t]he cost burden of reporting pay data to EEOC would be minimal.” Id. ¶ 66. Following

its own administrative process, OFCCP determined to coordinate with the EEOC on pay data

collection. Id. ¶ 67.

        On February 1, 2016, following this interagency process, the EEOC voted to revise the

EEO-1 to include a pay data collection and published a Federal Register notice to this effect

requesting public comments. See Agency Information Collection Activities: Revision of the

Employer Information Report, 81 Fed. Reg. 5113, 5115 (Feb. 1, 2016)). This was the “60-day

notice” required by the PRA. 81 Fed. Reg. at 5117.

        The EEOC proposed revising the EEO-1 to collect aggregate W-2 data in twelve pay

bands for the ten existing EEO-1 job categories, as recommended by the pilot study. As the

notice explained, “Employers will simply count and report the number of employees in each pay

band. For example, a filer will report on the EEO-1 that it employs 3 African American women

as professionals in the highest pay band.” 81 Fed. Reg. at 5117. The notice further explained that



                                                  7
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 10 of 45




it was using pay bands for reporting to minimize employer burden. Id. It specified the exact data

that employers would need to provide, so that potential commenters could evaluate the exact

requirements that EEOC was proposing. Id. at 5117-19. The 60-day notice also proposed

collecting the total number of hours worked by the employees included in each EEO-1 pay band,

as recommended by the EEOC’s pilot study, and specifically sought employer input on this

point. Id. at 5117. As required by the PRA, the EEOC estimated the number of reporting hours it

expected to be imposed on EEO-1 filers as part of its data collection, concluding that the pay

data collection would increase the reporting time per filer by 3.2 hours, up to a total of 6.6 hours.

Id. at 5118-19.

        On March 16, 2016, the EEOC held a public hearing on its proposed pay data collection

and heard testimony from witnesses who represented the views of employers, employees, and

academics. Compl. ¶ 75. NWLC joined in this hearing and provided testimony on the revised

collection. Id.

        The EEOC received a total of 322 timely comments in response to the 60-day notice,

many of which were compilations of supportive comments from thousands of individuals.

Agency Information Collection Activities: Notice of Submission for OMB Review, 81 Fed. Reg.

45479, 45480 (July 14, 2016). NWLC submitted a comment, as did employers, employer

associations, Members of Congress, civil rights groups, women’s organizations, labor unions,

industry groups, law firms, human resource organizations, and individual members of the public.

81 Fed. Reg. at 45479.

        On July 14, 2016, the EEOC published a second Federal Register notice, announcing that

it was submitting to OMB a request for a three-year PRA approval of the revised EEO-1, and

soliciting comments for submission both to OMB and the EEOC. Id. This was the “30-day



                                                  8
      Case 1:17-cv-02458-TSC             Document 16        Filed 02/27/18       Page 11 of 45




notice” required to obtain OMB approval of the collection of information. Id. The 30-day notice

set forth the EEOC’s conclusion that revisions to the EEO-1 were necessary for the enforcement

of equal pay laws. Id. The EEOC explained that:

        Based on federal data and a robust body of research, the Commission concludes
        that: (1) [p]ersistent pay gaps continue to exist in the U.S. workforce correlated
        with sex, race, and ethnicity; (2) workplace discrimination is an important
        contributing factor to these pay disparities; and (3) implementing the proposed
        EEO-1 pay data collection will improve the EEOC’s ability to efficiently and
        effectively structure its investigation of pay discrimination charges.

Id. (contained in Section III of the notice, “Revisions to the EEO-1 Report Are Necessary for the

Enforcement of Title VII, the [Equal Pay Act], and Executive Order 11246”).

        The EEOC stated that it would use the collection of pay data in multiple ways, including:

(1) to support its enforcement efforts, by enabling its staff to use statistical analysis to assist in an

early assessment of pay discrimination charges against an employer; (2) to periodically publish

reports on pay disparities by race, sex, industry, occupational groupings, and Metropolitan

Statistical Area; and (3) to provide training and outreach both internally and to employers and

other stakeholders on, among other things, how to use the reports. Id. at 45490-91. OFCCP

would use the data in similar ways. Id. at 45483.

        Notably, the 30-day notice announced adjustments to the EEOC’s original proposal in

response to public comments, specifically to reduce burden to employers. Compl. ¶ 84. These

included moving the filing deadline back to March 31 of the year that follows the reporting year

to align with calendar year W-2 wage data. Id. at 45484. The EEOC also changed the “workforce

snapshot period,” in response to comments from employers. Id. In addition, the 30-day notice

adjusted the estimates of burden imposed by the revisions to the EEO-1 upward based on

employer comments and a onetime implementation burden. Id. at 45483. It estimated that the

addition of pay data would increase the filing cost for each EEO-1 filer by $416.58. 81 Fed. Reg.


                                                   9
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 12 of 45




45493-94. The 30-day notice also stated that the EEOC would post data file specifications to

support employers and Human Resources Information Systems vendors in reporting pay data via

the EEO-1 through direct data upload “as soon as OMB approves the information collection.” Id.

at 45487.

       The EEOC received a total of 612 comments in response to the 30-day notice, including

another comment from NWLC. Again, some of the comments included compilations of

thousands of submissions from individuals writing in support of these efforts to collect pay data

information. Compl. ¶ 89. Thereafter, on September 28, 2016, the EEOC provided its Final

Supporting Statement on EEO-1 to OMB, and therein set forth a mechanism for future review of

the utility and burden of collecting pay data as part of the EEO-1 collection. Id. ¶ 90.

       OMB approved the proposed collection and issued an OMB control number for the

revised EEO-1 on or about September 29, 2016. Id. ¶ 91. After OMB approved the collection,

EEO-1 filers had a legal obligation to submit pay data for the 2017 reporting period by March

31, 2018. Id. ¶ 92.

       Employers submitting the EEO-1 can do so either via (1) direct data entry or (2) direct

data upload using a data file specification. Id ¶ 93. For the collection of pay data, the EEOC

updated a website advising employers of the data file format, if they chose to directly upload pay

data as part of the EEO-1. Id. ¶ 92. The data file for submitting pay data by optional direct

upload is a modified version of the data file specification that has been in place for over a

decade, simply adding fields for the data precisely specified in the Federal Register notices. Id. ¶

94. Only employers using direct data upload would use the data file specifications posted by the

EEOC. The EEOC “strongly” encouraged employers to use direct data entry, rather than using a




                                                 10
         Case 1:17-cv-02458-TSC         Document 16        Filed 02/27/18      Page 13 of 45




data file specification.6 As of 2014, the most recent date for which data is publicly available, 98

percent of employers used direct data entry, whereas only two percent of employers submitted

data via the data file specification. 81 Fed. Reg. at 5119 n. 55, 5120 n. 62 (in 2014, 67,146 firms

filed EEO-1s, of which 1,449 firms used direct data upload).

    V.   OMB’S DECISION TO REVIEW AND STAY THE REVISED EEO-1 PAY DATA
         COLLECTION

         On August 29, 2017, nearly one year after OMB approved the pay data collection,

Administrator Rao issued a memo to the Acting Chair of the EEOC (“Rao Memorandum”)

stating that OMB was reconsidering the revision to the EEO-1 to collect pay data and it was also

immediately staying that requirement. Compl. ¶ 95.

         The entire basis for OMB’s action was set forth in two paragraphs. With respect to

reconsideration, the Rao Memorandum stated:

         [U]nder 5 CFR 1320.10(f) and (g), OMB may review an approved collection of
         information if OMB determines that the relevant circumstances related to the
         collection have changed and/or that the burden estimates provided by EEOC at
         the time of initial submission were materially in error. OMB has determined that
         each of these conditions for review has been met. For example, since approving
         the revised EEO-1 form on September 29, 2016, OMB understands that EEOC
         has released data file specifications for employers to use in submitting EEO-1
         data. These specifications were not contained in the Federal Register notices as
         part of the public comment process nor were they outlined in the supporting
         statement for the collection of information. As a result, the public did not receive
         an opportunity to provide comment on the method of data submission to EEOC.
         In addition, EEOC’s burden estimates did not account for the use of these
         particular data file specifications, which may have changed the initial burden
         estimate.


6
  See, e.g., EEOC, Instruction Booklet,
https://www.eeoc.gov/employers/eeo1survey/2007instructions.cfm (“EEO-1 reporting is an
electronic, online application. Pursuant to the Government Paperwork Elimination Act of 1998,
we strongly recommend that EEO-1 reports be submitted via the EEO-1 Online Filing System, or
as an electronically transmitted data file. A copy of the prescribed EEO-1 data file format is
available at the website address in the survey mailout memorandum.” (emphasis added and
emphasis omitted)).

                                                  11
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18      Page 14 of 45




Memorandum from Neomi Rao, Adm’r, OIRA, to Victoria Lipnic, Acting Chair, EEOC (Aug.

29, 2017).7 The Memorandum did not address the facts that only two percent of users typically

submit data using the data file specifications or that the data file specifications had not

substantively changed, aside from adding fields for pay data, from the version previously in use.

It further did not prove any analysis for how it reached the conclusion that the data file

specifications—or any other factor—resulted in a change in circumstance or a material error in

burden estimates by the EEOC. Nor did it explain why it approved the collection originally

despite knowing the data file specification had not been published.

        In explaining the grounds for a stay, the Rao Memorandum stated:

        OMB has also decided to stay immediately the effectiveness of the revised aspects
        of the EEO-1 form for good cause, as we believe that continued collection of this
        information is contrary to the standards of the PRA. Among other things, OMB is
        concerned that some aspects of the revised collection of information lack practical
        utility, are unnecessarily burdensome, and do not adequately address privacy and
        confidentiality issues.

Id. The Memorandum did not provide any factual explanation or analysis to support these

conclusions, explain why it was reversing its prior conclusion that the collection was “necessary

for the proper performance of the functions of the agency” and had “practical utility,” 44 U.S.C.

§ 3508, or provide any additional information regarding its assessment that it had “good cause”

to stay the data collection.

        Following the direction of the Rao Memorandum, on September 15, 2017, the EEOC

published a Federal Register notice stating that EEO-1 filers should not submit pay data in their




7
 Available at
https://www.reginfo.gov/public/jsp/Utilities/Review_and_Stay_Memo_for_EEOC.pdf.

                                                  12
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18       Page 15 of 45




EEO-1s due by March 31, 2018. See Stay the Effectiveness of the EEO-1 Pay Data Collection,

82 Fed. Reg. 43362, 43362 (Sept. 15, 2017).

                                                ***

       On November 15, 2017, Plaintiffs filed this lawsuit alleging that the review and stay of

the revised EEO-1 pay data collection is unlawful under the Administrative Procedure Act, 5

U.S.C. 701, et seq., and the PRA. On February 13, 2018,8 Defendants moved to dismiss under

Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure on the grounds that Plaintiffs

do not have Article III standing and that there has been no final agency action that would subject

the review and stay to judicial review under the APA. See Def.’s Mot. to Dismiss, Dkt. No. 11

(Mot.).9

                                    STANDARD OF REIVEW

       Defendants seek dismissal based on Rule 12(b)(1) for lack of subject matter jurisdiction,

asserting that Plaintiffs do not have standing, and Rule 12(b)(6) for failure to state a claim.

       Standing is a prerequisite to the existence of a “Case[ ]” or “Controvers[y],” which is

itself a precondition to the exercise of federal judicial power. U.S. Const. art. III, §§ 1-2; Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). To demonstrate standing, a plaintiff must show

that she has suffered a past, ongoing, or threatened “injury in fact” that is “fairly traceable” to the

defendant’s actions and that is “likely to be redressed” by the relief she seeks. Spokeo, Inc. v.



8
  Defendants have not filed the certified list of the contents of the administrative record with the
Court as required by Local Civil Rule 7(l), a step which will contribute to prompt resolution of
the matter on the merits. Plaintiffs have previously raised this deadline with Defendants, and may
seek judicial intervention to require compliance with the Rule if necessary.
9
 Although Defendants include a footnote discussion of whether the EEO-1 data collection
should be construed as required by rule, they do not move to dismiss on this ground, and thus the
Court need not consider nor resolve the issue now.

                                                  13
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18      Page 16 of 45




Robins, 136 S. Ct. 1540, 1547 (2016) (citing Lujan, 504 U.S. at 560-61). At the pleading stage,

plaintiffs are required only to “state a plausible claim” that each of the standing elements is

present. Attias v. Carefirst, Inc., 865 F.3d 620, 625 (D.C. Cir. 2017) (citing Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (2016)); see also Lujan, 504 U.S. at 561 (“[E]ach

element [of standing] must be supported . . . with the manner and degree of evidence required at

the successive stages of the litigation. At the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice.” (citations omitted)). A plaintiff’s burden at

the pleading stage is “not onerous,” NB ex rel. Peacock v. D.C., 682 F.3d 77, 82 (D.C. Cir. 2012)

(quoting Equal Rights Ctr. v. Post Props., Inc., 633 F.3d 1136, 1141 n.3 (D.C. Cir. 2011)), and

“general factual allegations of injury resulting from [Defendants’] conduct may suffice,” id.

(quoting Lujan, 504 U.S. at 561).

       A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of a complaint.

Browning v. Clinton, 292 F.3d 235, 242 (D. C. Cir. 2002). “To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks and

citation omitted). “The plausibility standard is not akin to a ‘probability requirement,’ but it asks

for more than a sheer possibility that a defendant has acted unlawfully.” Id. (citation omitted). A

pleading must offer more than “labels and conclusions” or a “formulaic recitation of the elements

of a cause of action.” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955,

167 L.Ed.2d 929 (2007)).




                                                  14
       Case 1:17-cv-02458-TSC          Document 16        Filed 02/27/18      Page 17 of 45




                                           ARGUMENT

  I.   PLAINTIFFS HAVE STANDING TO CHALLENGE THE REVIEW AND STAY OF EEO-1 PAY
       DATA COLLECTION.

       An organization may establish standing either by direct impact to the organization

itself—standing in its own right—or by injury to its members. “There is no question that an

association may have standing in its own right to seek judicial relief from injury to itself and to

vindicate whatever rights and immunities the association itself may enjoy.” Abigail All. for

Better Access to Developmental Drugs v. Eschenbach, 469 F.3d 129, 132 (D.C. Cir. 2006)

(citing Warth, 422 U.S. at 511). In determining whether an organization has standing in its own

right, a court “conduct[s] the same inquiry as in the case of an individual: Has the plaintiff

alleged such a personal stake in the outcome of the controversy as to warrant his [or her]

invocation of federal-court jurisdiction?” Havens Realty Corp. v. Coleman, 455 U.S. 377, 378-79

(1982). A “concrete and demonstrable injury to [an] organization’s activities—with the

consequent drain on the organization’s resources—constitutes far more than simply a setback to

the organization's abstract social interests” and thus suffices for standing. PETA, 797 F.3d at

1093 (quoting Havens Realty, 455 U.S. at 379). To make this determination, “a court asks first,

whether the agency’s action or omission to act injured the organization’s interest and, second,

whether the organization used its resources to counteract that harm.” PETA, 797 F.3d at 1094

(citations omitted).

       Plaintiffs, NWLC and LCLAA, have standing in their own right to challenge the

unlawful stay based on injuries to their organizations. The Complaint sets forth detailed

allegations demonstrating that OMB’s unlawful stay impairs their ability to accomplish their

educational and advocacy work and makes it more difficult to obtain redress and other beneficial

outcomes for their clients and members under the civil rights laws. These are the types of


                                                 15
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18       Page 18 of 45




organizational harms repeatedly recognized by the D.C. Circuit as supporting standing. See, e.g.,

PETA., 797 F.3d at 1094; Action Alliance of Senior Citizens of Greater Philadelphia v. Heckler,

789 F.2d 931 (D.C. Cir. 1986). Impediments like those that OMB has inflicted on Plaintiffs are

costly, require them to divert resources in response, and deprive them of information that cannot

be recreated through other means. There can be no question, therefore that both Plaintiffs meet

the test for organizational standing.

       As set forth in detail below, Defendants’ arguments to the contrary are not persuasive,

particularly at this initial stage of litigation where Plaintiffs’ factual allegations must be accepted

as true and all favorable inferences drawn therefrom. Defendants challenge the existence of any

injury by arguing that absent a statutory entitlement to the publication of aggregate pay data,

plaintiffs cannot be injured by the loss of the information. This argument misconstrues the

“statutory entitlement” line of cases: while courts relax the requirement that a plaintiff plead

factual allegations showing an actual injury where the plaintiff claims a statutory entitlement to

information that has been withheld, this line of cases does not apply where, as here, an

organizational plaintiff is actually injured by the deprivation of information. There is no

requirement for a statutory mandate upon a showing of actual injury, as Plaintiffs have shown

here. As alleged in the Complaint, the loss of publicly available aggregate pay data impairs

Plaintiffs’ abilities to pursue their educational and advocacy missions. This is precisely the type

of actual harm that courts recognize as supporting Article III standing.

       Separately from the loss of published pay data, and all but ignored by Defendants,

Plaintiffs are injured because neither covered employers nor the EEOC will possess the

comprehensive pay data, organized by sex, race, ethnicity, and job category, required by the

revised EEO-1. This result makes it more difficult for them obtain redress for clients and



                                                  16
      Case 1:17-cv-02458-TSC            Document 16         Filed 02/27/18      Page 19 of 45




beneficial outcomes for members and working women and people of color. As long-recognized

in the D.C. Circuit, this type of injury is sufficient to establish standing.

        Finally, the fact that the EEOC has not previously collected pay data does not make

Plaintiffs’ injuries any less real. But for the unlawful review and stay, employers would have

been submitting data to the EEOC next month, meaning that OMB’s stay impairs Plaintiffs’

ability to accomplish daily activities from here on out.

        Defendants’ arguments on causation and redressability likewise fail. Plaintiffs’

allegations that the EEOC would publish aggregate pay data information are neither speculative

nor hypothetical. Rather, they are based on the EEOC’s own stated purpose for the data

collection, which included a promise to publish reports with information on aggregate pay data

and pay disparities, and the EEOC’s long history of publishing aggregate data collected by the

EEO-1. A vacatur of the stay and return to the status quo, wherein covered employers are

required to submit pay data as part of their EEO-1 filings, would remedy this and other injuries

suffered by Plaintiffs.

        A. The Stay Injures NWLC And LCLAA.

        As alleged in the Complaint, the unlawful review and stay of the collection of EEO-1 pay

data caused a “concrete and demonstrable injury” to NWLC and LCLAA’s activities that is

“more than simply a setback to the organization[s’] abstract social interests.” Havens Realty, 455

U.S. at 379. Both organizations have to divert their limited resources as a result of the unlawful

stay and both are deprived of information that cannot be fully recreated through other means. Id.

These injuries are real hinderances, not “self-inflicted” budgetary choices. Equal Rights Ctr. v.

Post Properties, Inc., 633 F.3d 1136, 1139–40 (D. C. Cir. 2011). Both organizations, therefore,

have suffered a legally cognizable injury.



                                                   17
      Case 1:17-cv-02458-TSC             Document 16         Filed 02/27/18      Page 20 of 45




        NWLC has worked for decades to combat sex discrimination in the workplace, and has

prioritized achieving equal pay for women, especially women of color. Compl. ¶¶ 14-15. As part

of this work, it publishes evidence-based reports and fact sheets used to educate employers,

members of the public, and federal and state policymakers about the reality of pay inequity as

well as policies that promote equal pay. Id. ¶ 15. NWLC pursues robust enforcement of laws

prohibiting pay discrimination and other forms of workplace discrimination and seeks redress for

victims of such discrimination, representing individual employees bringing discrimination

charges to the EEOC and referring others to attorneys willing to take on these cases through its

Legal Network for Gender Equity. Id. It also appears as amicus and as counsel in the courts on

behalf of victims of pay discrimination. Id. NWLC identifies, highlights, and promotes

promising employer practices to close the wage gap, and works with willing employers to assist

them in implementing such practices. Id. It also advocates for public policies that promote equal

pay, including state and local pay data collection efforts. Id.

        The unlawful stay makes it more difficult for NWLC to do this work. As described in

additional detail below, the stay deprives it of valuable information that: (1) it would otherwise

use in its public education and advocacy work; (2) makes it more difficult to encourage employer

voluntary compliance with equal pay laws and to advocate for state and local pay data collection

policies; (3) limits its ability to avail itself of avenues of redress, such as the bringing of

discrimination charges to the EEOC; and (4) increases the costs it bears in pro bono

representation of individuals injured by workplace discrimination. See Compl. ¶¶ 26-35.

        LCLAA, for its part, represents the interests of approximately 2 million Latino/a trade

unionists throughout the United States and Puerto Rico, as well as other non-unionized Latino/a

workers. Compl. ¶ 16. It strives to assist workers in advancing their rights and to convince



                                                   18
      Case 1:17-cv-02458-TSC          Document 16        Filed 02/27/18      Page 21 of 45




employers to improve working conditions, both through advocacy and through training and

counseling workers and union members. See id. Closing the pay gap, which especially plagues

Latinas, has been central to LCLAA’s work in recent years. See id. ¶ 17. At the national and

Chapter level, LCLAA educates its members about the pay gap and how to use collective action

and organizing to close it. See id. ¶ 18. It also conducts campaigns to raise awareness about the

pay gap and possible solutions, including providing training to Chapter Presidents and providing

information to mobilize members. See id.

       The unlawful stay harms LCLAA by (1) depriving it of information it would have used in

its ongoing education of its members, workers, employers, and union leaders; (2) eliminating

information that would have materially improved its and its members’ ability to negotiate with

and educate employers; (3) making it likely that LCLAA will undertake its own expensive and

less comprehensive and accurate survey of employee pay to attempt to replicate the data; and (4)

warranting additional terms related to pay data to LCLAA’s model contract, as well as

accompanying training time. Compl. ¶¶ 36-45.

               1. Plaintiffs’ Education And Advocacy Efforts Are Harmed By The Loss Of
                  EEOC’s Publication Of Aggregate Pay Data.

       Both NWLC and LCLAA would have used the EEOC’s aggregate summaries of pay data

in pursuit of their missions had OMB not stayed the EEO-1 pay data reporting. As part of its plan

to collect pay data, the EEOC committed “to periodically publish reports on pay disparities by

race, sex, industry, occupational groupings, and Metropolitan Statistical Area.” 81 Fed. Reg. at

45490-91. This stated plan continued its long-standing practice of providing aggregate EEO-1




                                                19
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 22 of 45




data on an annual basis, which it has done for at least 20 years.10 Each year these reports are lost

impairs NWLC’s and LCLAA’s ability to carry out their mission and drains their resources.

       As part of NWLC’s mission to educate employers, the public, and policymakers about

race and gender wage gaps, it publishes analysis and reports about workplace pay disparities. See

Compl. ¶ 27. NWLC would have used aggregate EEO-1 pay data to strengthen these publications

with additional data and analysis, and to enhance its public education campaign regarding race

and gender wage gaps with newly available information regarding occupational categories,

industries, and locations experiencing the largest gaps. See Compl. ¶ 28. The aggregate EEO-1

pay data would also have enabled NWLC to focus its resources on the jobs, industries and

regions where intervention is most urgent. See Compl. ¶¶ 27-28. Without this data, NWLC’s

efforts to analyze race and gender wage gaps, educate the public on them, and target its advocacy

efforts to the most urgent problems are hampered. See id. As a result of the unlawful stay,

NWLC will have to continue relying on time-consuming analysis of Bureau of Labor Statistics

and Census data to extrapolate pay disparities. See id. ¶ 27. NWLC staff have been diverted from

pursuing other projects that are core to its organizational mission as a result, reducing NWLC’s

“ability to produce educational materials and sample laws and policies addressing workplace

sexual harassment,” preventing the preparation of “‘know your rights’ and legal education

materials addressing issues of workplace discrimination and harassment,” and forcing NWLC to

forgo “significant federal advocacy efforts in support of strengthened pregnancy discrimination

protections.” See id. ¶¶ 33-35.




10
  See Job Patterns For Minorities And Women In Private Industry (EEO-1), data from 1996-
2015 available at https://www.eeoc.gov/eeoc/statistics/employment/jobpat-eeo1/index.cfm.



                                                 20
      Case 1:17-cv-02458-TSC          Document 16       Filed 02/27/18      Page 23 of 45




       Similarly, LCLAA issues reports periodically to educate workers, employers, and union

leaders about the challenges encountered by Latinos and Latinas in the workforce. See id. ¶ 37.

LCLAA uses these reports in advocating for policy change and enforcement, and in educating its

members on ways to negotiate with employers and encourage them to follow practices that

reduce workforce discrimination. See id. To aid those efforts, the reports discuss data compiled

and published by the Government on income and employment—including EEO-1 data. In

upcoming reports, LCLAA would have presented statistics on pay equity within industries and

across the nation, based on the new pay data required by the revised EEO-1. See id. This would

have materially improved LCLAA’s and its members’ ability to negotiate with and educate

employers and to fulfill LCLAA’s mission of improving the condition of Latinos and Latinas in

the workforce. See id. ¶ 38. The unlawful stay makes that plan impossible—replication of the

same information would be enormously burdensome, and likely unsuccessful given its

necessarily voluntary nature. See id. ¶ 39. Even so, LCLAA is pursuing the possibility of

conducting a survey to provide its members with this essential information, to include questions

on pay equity, at significant expense. See id. ¶¶ 38-40. As a result, LCLAA has had to redeploy

staff resources away from its daily operations to determine how to conduct the necessary survey,

not to mention to determine how to fund the costs associated with conducting a survey of this

nature. This redeployment interferes with important projects like the management of a recently

launched, first-of-its-kind fellowship for Latina workers and preventing “work on educational

materials related to the NAFTA renegotiations, including its impact on women.” See id. ¶¶ 43-

45.

       Plaintiffs’ intended uses of the information, which Defendants’ actions preclude, are the

precise types of information uses that, for standing purposes, the D.C. Circuit found “concrete



                                               21
      Case 1:17-cv-02458-TSC             Document 16        Filed 02/27/18       Page 24 of 45




and specific to the work in which [plaintiff is] engaged.” PETA, 797 F.3d at 1094 (quoting

Action Alliance, 789 F.2d at 938). In PETA, the plaintiff had been injured by the USDA’s delay

in enforcing the protections of the Animal Welfare Act (AWA) to birds in part because the

USDA publishes inspection reports based on AWA inspections, and PETA had relied on those

inspection reports to accomplish its mission of educating the public about the conditions under

which animals are held. The deprivation of information resulting from the failure to create

inspection reports regarding birds “perceptibly impaired” PETA’s mission because it “deprived

PETA of key information that it relies on to educate the public.” Id. at 1094-95. Defendants’

decision to abandon the EEOC’s previously approved collection and reporting (or, at the very

least, to delay that collection and reporting) injures NWLC and LCLAA in identical fashion.

        Similarly, in Action Alliance, the loss of access to information was found to injure an

organization. There, the plaintiffs, organizations that through a variety of services worked to

improve the lives of elderly individuals, sued the United States Department of Health and

Human Services (HHS) because HHS had promulgated HHS-specific regulations under the Age

Discrimination Act of 1975 (ADA) that the plaintiffs claimed restricted the flow of information

by not requiring self-evaluations and reducing compliance reports by recipients of Federal

financial assistance, inconsistent with the requirements of government-wide ADA regulations.

Id. at 935–37. The D.C. Circuit concluded that the plaintiffs had pleaded an injury sufficient to

establish standing because “the challenged regulations denied the plaintiffs access to information

and avenues of redress they wish to use in their routine information-dispensing, counseling, and

referral activities.” Id. at 937–38; see also, e.g., Scientists’ Institute for Public Information, Inc.

v. Atomic Energy Comm’n,, 481 F.2d 1079, 1087 n. 29 (D.C. Cir. 1973) (plaintiff organization

had standing to challenge AEC decision not to issue an environmental impact statement because



                                                   22
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18        Page 25 of 45




the agency action limited the plaintiff’s ability to carry out one of its major activities: informing

the public); cf. Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 921 (D.C. Cir. 2015)

(denying standing where plaintiff did not “allege that the [agency’s] action restricts the flow of

information that [plaintiff] uses to educate its members”). NWLC’s and LCLAA’s injuries fit

precisely in this line of cases.

        Largely ignoring this settled caselaw, Defendants assert that an injury based on

information loss is cognizable only if that information is specifically required by statute. See

Mot. at 12. This is not the law governing the claims and standing allegations at issue in this case.

Rather, Defendants’ contention that a statutory mandate is required comes from cases enforcing

statutory entitlements to information (e.g., the Freedom of Information Act), in which “a plaintiff

seeking to demonstrate that it has informational standing generally ‘need not allege any

additional harm beyond the one Congress has identified.’” Friends of Animals v. Jewell, 828

F.3d 989, 992 (D.C. Cir. 2016) (quoting Spokeo, 136 S. Ct. at 1549). Such cases—which relax

the requirements for showing injury in certain circumstances not applicable here—are limited to

specific statutory schemes where a plaintiff need do little more than show that it is entitled to the

information and did not receive it. See, e.g., Kean for Cong. Comm. v. Fed. Election Comm'n,

398 F. Supp. 2d 26, 36 (D.D.C. 2005) (explaining that plaintiffs need not “further establish an

additional concrete and immediate harm” once they have shown a “failure to obtain information

that, by statute, the plaintiffs had a right to have”). The doctrine of informational injury thus has

a “narrow scope,” Owner-Operator Indep. Drivers Ass’n, Inc. v. U.S. Dep’t of Transp., 879 F.3d

339, 344 (D.C. Cir. 2018), but it is not the doctrine Plaintiffs rely on here.

        Plaintiffs seek no relaxation of the standard for showing organizational standing, and thus

the “statutory mandate” cases are inapposite. Relevant here, as the D.C. Circuit has held, an



                                                  23
      Case 1:17-cv-02458-TSC           Document 16       Filed 02/27/18      Page 26 of 45




organizational plaintiff pleads a cognizable injury where a defendants’ actions result in the lack

of access to information and the loss of access to information injures the plaintiff—regardless of

whether that information was statutorily required. In Action Alliance, for example, the loss of

information was due to a government’s issuance of agency-specific regulations that substantially

limited the information available under preexisting, government-wide regulations. 789 F.2d at

937. The court found that plaintiffs had standing because “[t]he government-wide regulations . . .

afford interested individuals and organizations a generous flow of information” and the agency-

specific regulations “significantly restrict[ed] that flow.” Id.11 As with PETA and the elderly

assistance organizations in Action Alliance, so too here. Regardless of any statutory requirement

to information, the loss of EEO-1 aggregate pay data deprives NWLC and LCLAA of key

information supporting their educational and advocacy missions, and they have, therefore,

suffered an organizational injury. See also, e.g., PETA, 797 F.3d at 1094, (finding an

organizational injury resulting from loss of access to information without discussing any

statutory entitlement to the information); Friends of Animals v. Salazar, 626 F. Supp. 2d 102,

113-14 (D.D.C. 2009) (separately analyzing informational standing based on statutory

entitlement and organizational standing based on the substantive harm from deprivation of the

information).

       The D.C. Circuit’s decision in Electronic Privacy Information Center v. Presidential

Advisory Commission on Election Integrity (EPIC), 878 F.3d 371, 378 (D.C. Cir. 2017), upon

which Defendants rely, reinforces this conclusion. Contrary to Defendants’ suggestion, EPIC

does not collapse the distinction between informational and organizational injuries. Rather, EPIC


11
  While the plaintiffs also argued that the agency-specific regulations violated the ADA, the
court based its standing determination solely on the conflict between the agency-specific
regulations and the government-wide regulations, not on any statutory entitlement.

                                                24
      Case 1:17-cv-02458-TSC           Document 16         Filed 02/27/18      Page 27 of 45




held first that the plaintiff did not suffer an informational injury because the relevant statute was

intended to protect individual privacy, rather than to provide a statutory entitlement to

information; and second that the plaintiff did not suffer an organizational injury because the

deprivation of information merely harmed its “abstract social interest.” Id. at 378-79 (citing Am.

Soc’y for Prevention of Cruelty to Animals v. Feld Entm’t, Inc., 659 F.3d 13, 24-25 (D.C. Cir.

2011). Nowhere did the EPIC decision suggest that a properly pleaded organizational injury

resulting from the deprivation of information (as Plaintiffs have shown here)—as opposed to a

pure informational injury—may be established only if the organization had a statutory

entitlement to such information. Notably, the EPIC decision cites PETA, rather than purporting

to overrule it, on the definition of organizational injury. Id. at 378. As discussed above, PETA,

and the cases it cites, turn on the organization’s anticipated use of the desired information, not

any question of statutory entitlement to it. PETA, 797 F.3d at 1094. As set forth in detail above,

NWLC and LCLAA have concrete and cognizable interests in the publication of aggregate pay

data (as well as in the maintenance of this pay data by covered employers and possession of the

pay data by the EEOC, discussed in more detail below), and thus—unlike the plaintiff in EPIC—

they have standing.12



12
  Notably, in contrast to EPIC, NWLC’s and LCLAA’s missions are entirely consistent with the
purpose of Title VII and the EEOC’s pay data collection. Title VII provides for employer-
recordkeeping to make a “determination whether unlawful employment practices have been or
are being committed.” 42 U.S.C. § 2000e-8(c). The EEOC determined that collecting the pay
data that would have been collected by the EEO-1 is necessary to enforce Title VII and other
equal pay requirements. 81 Fed. Reg. at 45481. Consistent with these statutory and regulatory
goals, NWLC and LCLAA are dedicated to eliminating unlawful pay discrimination against
women and people of color and would have used the denied information to advance those ends.
See Compl. ¶¶ 15, 17. Moreover, as discussed in the next section, one of NWLC’s injuries
resulting from Defendants’ stay is its ability to obtain a “determination whether unlawful
employment practices have been or are being committed,” 42 U.S.C. § 2000e-8(c), the exact
purpose of the underlying statute.

                                                 25
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18     Page 28 of 45




               2. Plaintiffs’ Efforts To Obtain Favorable Outcomes For Their Clients And
                  Members, Respectively, Are Limited By The Stay Of Pay Data Collection.

       Not only are NWLC and LCLAA injured by the loss of aggregate pay data for their

education and advocacy purposes, but the unlawful stay also has hampered their ability to obtain

favorable outcomes for their clients and members, and to otherwise do their work. These injuries

result primarily from the fact that neither covered employers nor the EEOC will possess the

EEO-1’s comprehensive pay data as a result of the stay. (As such, Defendants’ informational

injury argument is irrelevant here.) A limitation on avenues of redress and obtaining beneficial

outcomes for members is a “concrete and demonstrable injury to [an] organization’s activities”

sufficient to establish standing. PETA, 797 F.3d at 1093 (standing establishing in part based on

inability to seek redress for bird abuse); see also Abigail Alliance, 469 F.3d at 132-33 (finding

organizational standing where “[d]efendants’ conduct [allegedly] frustrated [plaintiff’s] efforts to

assist its members and the public in accessing potentially life-saving drugs and its other

activities, including counseling, referral, advocacy, and educational services”).

       NWLC routinely represents individual clients with pay discrimination claims requesting

that the EEOC bring charges. See Compl. ¶¶ 29-30. With aggregate data, NWLC could compare

a client’s pay to industry benchmarks; even if the EEOC did not publish aggregate data, NWLC

could point the EEOC to the employer-specific data the EEOC collected. Because the EEOC will

lack that data, petitioning for redress will be more costly, with NWLC bearing the costs of

amassing evidence about internal pay inequities and comparators’ pay practices, and less

effective, given the more comprehensive data the EEOC can collect through its compulsory

power. See id. ¶ 30. The stay therefore impairs NWLC and its clients’ ability to avail themselves

of avenues for redress. See Compl. ¶¶ 29-31. In cases where sufficient evidence to convince the

EEOC to investigate charges cannot be mustered without the data, the stay will close an avenue


                                                26
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 29 of 45




for redress altogether. See Compl. ¶¶ 29-31. Indeed, the EEOC itself recognized that pay data

would strengthen the ability of entities like NWLC to utilize its charge process, because it would

“enhance and increase the efficiency of enforcement efforts.” See 81 Fed. Reg. at 45480.13 The

restriction on these opportunities to seek redress is a blackletter cognizable injury. PETA, 797

F.3d at 1093.

       NWLC’s longstanding work with employers, see Compl ¶ 15, for the purpose of

benefiting women employees, is also significantly diminished by the stay. Absent the federal

mandate to collect the information at issue, NWLC will expend additional funding and staff time

to engage with employers to strengthen compliance with equal pay laws and encourage

implementation of practices to prevent wage gaps, including voluntary self-audits of pay

practices and internal wage disparities, in order to compensate for the self-evaluation of internal

wage gaps that the EEO-1 pay data collection would have required employers to undertake. See

id. ¶ 32; see also 81 Fed. Reg. at 45480 (the revised EEO-1 would “facilitate employer self-

evaluation and voluntary compliance”).

       The stay of EEO-1 pay data collection also hinders LCLAA’s ability to support its

members in obtaining beneficial results. Specifically, the publication of aggregate pay data by

industry and location would have given LCLAA and its members valuable information in

negotiating with employers. See Compl. ¶ 38. In addition, absent the EEO-1 requirement that

employers maintain pay data themselves, employees will have to negotiate for such a term in

their contracts. See Compl. ¶¶ 39, 41. Moreover, LCLAA is in the midst of a project aimed at

creating model contract terms regarding pay equity, and, as a result of the stay, will have to


13
   The EEOC provides a detailed explanation of how EEO-1 pay data would be used to support
its early assessment of discrimination charges in its 30-day Notice. See 81 Fed. Reg. 45479,
45490.

                                                 27
      Case 1:17-cv-02458-TSC            Document 16         Filed 02/27/18      Page 30 of 45




include terms related to the maintenance of pay data, which requires additional work, including

the training of union leaders on the terms and relevant aspects of such negotiations. See Compl.

¶¶ 41-42. The unlawful stay has therefore made LCLAA’s ability to serve its members’ interests

less effective and more costly, thereby establishing standing. Abigail Alliance, 469 F.3d at 132.

Finally, both NWLC and LCLAA will be deprived of training on the use of aggregate pay data

that the EEOC had promised to provide to “employees and their advocates,” limiting their ability

to obtain redress and favorable outcomes for their clients and members. See 81 Fed. Reg. at

45491.

                3. Plaintiffs’ Injuries Are Cognizable Even Though The EEO-1 Had Not
                   Previously Collected Pay Data.

         Defendants assert that Plaintiffs have not been injured because pay data has not

historically been collected by the EEO-1, and therefore the failure to collect the data does not

create any additional costs for Plaintiffs. See Mot. at 16-18. This argument misrepresents the

status quo and misunderstands how a plaintiff may show injury resulting from an agency’s

decision not to regulate (or here, to prevent the implementation of previously approved

regulatory requirements).

         Contrary to Defendants’ representations, the status quo prior to OMB’s review and stay

of the pay data collection was that employers would report pay data as of March 2018. This

requirement had been in effect for nearly a year by the time OMB halted it. Compl. ¶¶ 91-92, 95.

Just as courts routinely find plaintiffs injured by agencies’ decisions to delay or cancel

implementation of regulations and rules that were final, but had not yet gone into effect, the fact

that the EEOC had not collected pay data before the 2010-2016 regulatory process does not

preclude a finding that the failure to collect the data injures Plaintiffs. See, e.g., Nat’l Venture




                                                  28
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 31 of 45




Capital Ass’n v. Duke, --- F.3d ----, 2017 WL 5990122 at *4-7 (D.D.C. Dec. 1, 2017) (finding

standing to challenge delay of rule that created new avenue for seeking immigration parole).

       Moreover, even if the status quo did not include collection of pay data, under D.C.

Circuit law, the consequences of Defendants’ actions to halt the pay data collection must be

assessed “not by reference to the status quo ante but instead to other actions [the agency] could

have taken.” Nat’l Envtl. Dev. Ass’n’s Clean Air Project v. EPA, 752 F.3d 999, 1006 (D.C. Cir.

2014). Plaintiffs “need not show that the [agency action] rendered them worse off than the status

quo ante. They may alternatively show that, had the [agency] taken the course of action that they

claim the law required, they would have been better off.” Id. (citing Nat’l Ass’n of Home

Builders v. U.S. Army Corps of Eng’rs, 663 F.3d 470, 475 (D.C. Cir. 2011) (noting that, in

standing analysis, “the historical baseline is not the only possible measure of injury”)); see also

Animal Legal Def. Fund, Inc. v. Glickman, 154 F.3d 426, 441 (D.C. Cir. 1998) (“The proper

comparison for determining causation is not between what the agency did and the status quo

before the agency acted. Rather, the proper comparison is between what the agency did and what

the plaintiffs allege the agency should have done under the statute.”). The “other action” here—

EEOC’s planned and approved collection—is thus the relevant benchmark even if it is not

considered the status quo ante. PETA illustrates the inappropriateness of Defendants’ approach:

the D.C. Circuit did not question the validity of PETA’s injuries, even though they resulted from

the lack of reports that had never before been created. 797 F.3d. at 231.

       Here, NWLC and LCLAA have made specific allegations as to how their activities are

impeded as the result of the unlawful stay. Both must undertake expensive and less effective

efforts to gather pay data to substitute for the aggregate data that the EEOC would have

published. For NWLC, it will have to continue relying on time-consuming analysis of Bureau of



                                                 29
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18     Page 32 of 45




Labor Statistics and Census data by its staff. See Compl. ¶ 27. LCLAA is pursuing the possibility

of conducting its own surveys of workers on pay equity issues, which will come at considerable

expense to the organization. See Compl. ¶ 40. And no matter how herculean the Plaintiffs’

efforts, their result will be an incomplete substitute for the comprehensive data EEOC would

have collected, given Plaintiffs’ lack of any compulsory power and many employers’ strong

motivation to withhold information that could reveal pay disparities. NWLC’s ability to obtain

redress for its clients will thus require additional effort and lack valuable data, as will LCLAA’s

ability to obtain beneficial outcomes for its members. See Compl. ¶¶ 29-31, 41-42. The fact that

they may have engaged in these activities if the EEOC had never undertaken to collect pay data

does not render them uninjured by the unlawful stay of the pay data collection that would have

so plainly benefited them. See, e.g., PETA, 797 F.3d at 1097 (finding standing where plaintiff

“redirected its resources in response to [agency’s] unlawful failure to provide the means by

which [plaintiff] would otherwise advance its mission”).

       Defendants’ arguments that Plaintiffs’ alleged harms are ordinary program costs because

Plaintiffs have done that work previously, Mot. at 15-18, are also misplaced. The fact that

Plaintiffs have done this work in the past, and now must continue doing so, does not make the

stay any less injurious, because the pay data collection would have reduced the resources

required to pursue these objectives, thereby freeing limited resources for other mission-critical

activities. See Compl. ¶¶ 33-35, 43-45. Had the pay data collection not been stayed, the types of

activities in which NWLC and LCLAA must now engage—time-consuming research and

analysis into pay data for education, advocacy, and representational purposes, advocacy for state

and local public policies requiring pay data collection, and encouraging employers to collect and

maintain pay data—would be less necessary. They therefore require work beyond what their



                                                30
      Case 1:17-cv-02458-TSC            Document 16       Filed 02/27/18       Page 33 of 45




ordinary program costs would be had there been no stay. Unlike cases where ordinary program

costs do not constitute standing, the stay of the pay data collection has perceptibly impaired

Plaintiffs’ work compared to a world in which the collection was not stayed. Cf. Nat'l Taxpayers

Union, Inc. v. United States, 68 F.3d 1428, 1434 (D.C. Cir. 1995) (finding no standing because

“[t]here is no evidence that [challenged statute] has subjected [plaintiff] to operational costs

beyond those normally expended to review, challenge, and educate the public about revenue-

related legislation”).

        Defendants also assert that Plaintiffs have alleged only incremental additions to pre-

existing projects, pointing to LCLAA’s allegations regarding how its potential pay equity survey

and project regarding model contract terms have been made more expensive and difficult. Mot.

at 17-18. Yet the case on which Defendants rely for this argument is easily distinguishable. In

Conservative Baptist Association of America, Inc. v. Shinseki (“CBAA”), 42 F. Supp. 3d 125, 132

(D.D.C. 2014), the organizational plaintiff did not have standing to challenge allegedly

discriminatory terminations of chaplains it had endorsed, where its only alleged injury was that

its purpose in endorsing chaplains was frustrated—not that endorsing chaplains became more

expensive, or had to take other actions in light of the terminations. The court stated, “CBAA has

not alleged that VA has prevented it from endorsing chaplains; rather, CBAA remains accredited

to endorse chaplains as it chooses. Nor has CBAA alleged that VA has prevented it from

continuing to endorse Klender and Firtko in their capacities as chaplains.” Id. Noting that the

plaintiff had alleged only that “endorsing a chaplain is a time-consuming and resource-intensive

endeavor,” the court determined that the plaintiff had not shown any drain on its resources from

the two allegedly discriminatory terminations, where it would have endorsed those chaplains in

its ordinary course of business. Id. at 132.



                                                 31
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18       Page 34 of 45




       In contrast, Plaintiffs have alleged specific activities and resource expenditures that they

will have to take because the EEO-1 pay data collection was stayed, which they would not have

had to take had it not been stayed. Unlike the plaintiff in CBAA, which only identified activities

it would have done regardless of the allegedly unlawful activity, LCLAA’s addition of pay data

questions to a planned survey and its addition of a term related to pay data in a model contract

result directly from the unlawful stay, and impose costs it would not otherwise have borne—

increasing the cost of conducting and analyzing the survey and increasing the burden in

finalizing the model contract, training its members on it, and negotiating obtaining employers’

agreement to it. See Compl. ¶¶ 40-43. See, e.g., PETA, 797 F.3d at 232 (finding standing to

challenge non-enforcement of statute where plaintiff had to take additional steps, such as

researching other applicable statutes, and “would not have needed to expend (or expend to the

same extent) these resources” without the agency action).

       Of course, Plaintiffs have and will continue to devote significant time and effort to

eliminating the race and gender wage gap, but that does not make the unlawful stay any less

injurious to them. In this vein, just last year, another court in this District rejected an argument

made by a defendant insurance agency that the activities that a fair housing advocacy group took

to counteract the defendant’s allegedly discriminatory practices “cannot suffice for injury in fact”

because they are “wholly consistent with the very type of education and outreach efforts that are

part of [plaintiff’s] stated mission.” Nat’l Fair Hous. All. v. Travelers Indem. Co., 261 F. Supp.

3d 20, 27–28 (D.D.C. 2017). The court observed that “in nearly all of the cases where an

organization has standing to pursue a claim under the [Fair Housing Act], of course those

organizations’ activities are ‘wholly consistent’ with their mission of promoting fair housing.”

Id. (citations omitted). So too here, the activities that Plaintiffs must engage in to compensate for



                                                  32
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18       Page 35 of 45




the effects of the unlawful stay are “wholly consistent” with their mission of remedying pay

discrimination. That consistency does not make the injuries any less cognizable.

       B. Plaintiffs’ Injuries Were Caused By Defendants’ Actions And Are Redressable
          By The Relief Sought.

       There can be no doubt that had OMB not stayed the EEO-1 pay data collection and had

EEOC not implemented that stay, covered employers would have been required to provide pay

data to the EEOC as of next month and to maintain that data themselves. Among the other uses it

anticipated for this data, the EEOC expected to publish periodic reports based on the pay data.

As a result of OMB and EEOC’s actions, that data collection has been indefinitely stayed.

Defendants’ actions thus necessarily caused Plaintiffs’ injuries, and an order by the Court

vacating the stay would correspondingly remedy those injuries.

       Defendants assert that Plaintiffs have not adequately pled causation, but even their own

statement of what Plaintiffs need to show proves the opposite. According to Defendants:

       Plaintiffs would need to show that but for OMB’s decision: (1) the EEOC would
       have collected the Component 2 pay data; (2) the EEOC would have published
       aggregate pay data for public use based on the information collected from the
       EEO-1; and (3) the aggregate pay data published by the EEOC would be of a
       nature useful to Plaintiffs’ specific advocacy efforts.

Mot. at 19.14 This is exactly what Plaintiffs have done. First, the collection of pay data via the

EEO-1 has been finalized and would have begun in March of 2018, but for OMB’s decision to

stay the collection and the EEOC’s subsequent Federal Register Notice implementing the stay.

See Compl. ¶¶ 70, 90-92, 99.

       On the second point, Defendants assert that Plaintiffs have provided only a “bare

allegation” that EEOC would publish aggregate pay data. Mot. at 19. On the contrary, Plaintiffs’



14
  As discussed above, this ignores that the stay injures Plaintiffs even if EEOC would not have
published aggregate pay data had the stay never been imposed.
                                                 33
      Case 1:17-cv-02458-TSC             Document 16         Filed 02/27/18      Page 36 of 45




allegations on this point are based squarely on the EEOC’s own stated purposes for the data

collection. See Compl. ¶ 83 (citing the EEOC’s “30-day” Federal Register Notice). The EEOC

itself committed to: “periodically publish reports on pay disparities by race, sex, industry,

occupational groupings, and Metropolitan Statistical Area.” Id. This commitment is consistent

with its historical practice of publishing annual reports based on aggregate EEO-1 data, in

addition to periodic industry specific reports.15 Plaintiffs have not merely “plead[ed] [this]

causative link” as Defendants claim, but have provided specific factual allegations showing that

EEOC had made a stated commitment to do so, and that such publication was consistent with

EEOC’s past practice. Cf. Wheaton Coll. v. Sebelius, 703 F.3d 551, 552 (D.C. Cir. 2012) (“We

take the government at its word and will hold it to it.”).

        Defendants’ hypothesis that the EEOC could, in the future, decide not to make such

publications, despite its past practice and stated commitment to doing so, does not change the

fact that it certainly will not do so now as a direct result of the stay. This is sufficient to plead

causation. See, e.g., Bennett v. Spear, 520 U.S. 154, 168-69 (1997) (rejecting the proposition that

injury only occurs if defendant’s actions are “the very last step in the chain of causation”; even if

another agency “retains ultimate responsibility for determining whether and how a proposed

action shall go forward,” “that does not exclude injury produced by determinative or coercive

effect upon the action of [the other agency]”); City of Orangeburg, S.C. v. Fed. Energy

Regulatory Comm’n, 862 F.3d 1071, 1080 (D.C. Cir. 2017) (“[T]he existence of, perhaps, an

equally important player in the story does not erase [defendant agency’s] role.”; 13A Charles

Alan Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice & Procedure § 3531.5, at



15
  See, e.g., Compl. ¶ 59; EEOC, Job Patterns for Minorities and Women in Private Industry
(EEO-1), https://www.eeoc.gov/eeoc/statistics/employment/jobpat-eeo1/index.cfm.

                                                   34
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18      Page 37 of 45




311-15 (3d ed. 2008) (“It may be enough that the defendant’s conduct is one among multiple

causes.”)). The loss of aggregate EEO-1 data on employee pay is therefore not speculative, but a

direct result of Defendants’ actions.

        Finally, on the third prong set forth by Defendants, the pay data would be useful to

Plaintiffs’ specific advocacy efforts and other organizational activities, for the reasons discussed

above. And even if the Court doubted that the loss of aggregate pay data was caused by the

unlawful stay (which it should not), Plaintiffs’ other injuries do not turn on the publication of

EEOC’s reports. The stay also results in employers not compiling wage information and

correlating it with race, ethnicity, sex, and job category, as would have been required, and

deprives the EEOC itself of this information. See Compl. ¶ 97. As discussed in detail above, the

impact on employers and the EEOC hinders Plaintiffs’ ability to obtain redress and beneficial

outcomes for their clients and members, harms that are caused directly by the unlawful stay.

        The fact that the revised EEO-1 regulates entities other than Plaintiffs does not alter this

conclusion. Plaintiffs may show that the lack of regulation of third parties have caused them

injury with sufficient factual allegations. See Lujan, 504 U.S. at 561-62. Here, the data collection

from covered employers was mandatory, and therefore the Court may assume that it would have

occurred but for the stay. Cf. Nat’l Wrestling Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930,

940-41 (D.C. Cir. 2004) (explaining that courts can assume that third parties would not “violat[e]

the law” when evaluating standing). Plaintiffs’ injuries are therefore the direct consequence of

the stay.

        Should the Court determine that the stay of the pay data collection was unlawful, vacate

the stay, and declare that the revised EEO-1 remains in effect, Plaintiffs’ injuries would be




                                                 35
       Case 1:17-cv-02458-TSC          Document 16        Filed 02/27/18       Page 38 of 45




redressed. Covered employers would collect and report pay data. The EEOC would be able to

use the data as it originally anticipated, including by publishing aggregate summaries.

       The fact that the court’s order might not require the EEOC to publish summary data does

not alter the redressability analysis. A ruling in Plaintiffs’ favor would return the EEOC to the

pre-stay status quo wherein it had promised to make reports, and had a historic practice of

publishing aggregate data. The EEOC is not an “independent actor” free to make “unfettered

choices” about which a plaintiff must “speculate” Cierco v. Mnuchin, 857 F.3d 407, 419 (D.C.

Cir. 2017), but a federal agency that has previously committed to perform certain actions. As the

D.C. Circuit has noted, “Causation and redressability typically ‘overlap as two sides of a

causation coin.’ … After all, if a government action causes an injury, enjoining the action usually

will redress that injury.” Carpenters Indus. Council v. Zinke, 854 F.3d 1, 6 (D.C. Cir. 2017)). See

also, e.g., PETA, 797 F.3d at 1090 (holding that the plaintiff met all of the requirements of

standing based in part on the deprivation of information in inspection reports, even though it was

not seeking an order requiring the defendant agency to issue those reports).

 II.   THE STAY IS FINAL AGENCY ACTION REVIEWABLE BY THIS COURT.

       OMB’s decision to stay the EEOC’s collection of employee pay data is final agency

action reviewable by this Court under the two-prong standard of Bennett v. Spear, 520 U.S. 154,

168-69 (1997). The stay lifts a binding legal requirement obligating employers to submit pay

data to the EEOC as part of their ongoing equal employment reporting obligations. Before the

stay, employers were obligated to accurately report their pay data to EEOC on March 31, 2018,

on penalty of fines or imprisonment; after the stay, they are not legally obligated to do so.16


16
   Because OMB made the stay open-ended and set no deadline for completing its review, the
stay vacates the 2019 obligation as well. Notably, OMB and EEOC have yet to request public
comment on the data collection, suggesting an intent to simply let the original authorization
expire rather than complete the “reconsideration” supposedly justifying the stay.
                                                 36
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 39 of 45




There can be no doubt, therefore, that the stay decision “mark[s] the consummation of the

agency’s decisionmaking process” concerning whether the legal obligation should take effect

and is “one by which rights or obligations have been determined, or from which legal

consequences will flow” making it final for the purpose of APA review. Clean Air Council v.

Pruitt, 862 F.3d 1, 6 (D.C. Cir. 2017) (quoting Bennett, 520 U.S. at 177–78).

       A. Staying A Regulatory Mandate Is A Final Decision, Regardless Of Whether It Is
          Part Of A “Reconsideration” Process.

       The D.C. Circuit has repeatedly stated, most recently in Clean Air Council, that staying

the effective date of a rule is final agency action subject to judicial review. Defendants’ attempt

to portray OMB’s action as an interlocutory decision midway through an agency’s administrative

process is foreclosed by this line of cases. Had OMB solely determined to “review” the

previously approved collection of information pursuant to 5 C.F.R. § 1320.10(f), Defendants’

argument may have had some merit. But in the words of the D.C. Circuit, “[t]he imposition of

the stay, however, is an entirely different matter.” Clean Air Council, 862 F.3d at 6.17

        The stay of the pay data collection meets the first Bennett requirement, because it “marks

the consummation of the agencies’ decision-making process” regarding whether the revised



17
   See also, e.g., Nat. Res. Def. Council v. Abraham, 355 F.3d 179, 194 (2d Cir. 2004)
(“[A]ltering the effective date of a duly promulgated standard could be, in substance, tantamount
to an amendment or rescission of the standard[ ].”); Envt’l Def. Fund, Inc. v. EPA, 716 F.2d 915,
920 (D.C. Cir. 1983) (“[S]uspension or delayed implementation of a final regulation normally
constitutes substantive rulemaking under APA § 553.”); Council of S. Mountains, Inc. v.
Donovan, 653 F.2d 573, 580 n.28 (D.C. Cir. 1981) (concluding that an order “deferring the
requirement that coal operators supply life-saving equipment to miners, [that] had palpable
effects upon the regulated industry and the public in general,” is “a substantive rule”); Nat. Res.
Def. Council, Inc. v. EPA, 683 F.2d 752, 762 (3d Cir. 1982) (“If the effective date were not part
of an agency statement such that material alterations in that date would be subject to the
rulemaking provisions of the APA, ... an agency could guide a future rule through the
rulemaking process, promulgate a final rule, and then effectively repeal it, simply by indefinitely
postponing its operative date.” (internal quotation marks omitted)).

                                                 37
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18       Page 40 of 45




EEO-1 reporting requirements should presently be in effect. See Bennett, 520 U.S. at 177–78. In

August 2017, OMB determined to “stay immediately the effectiveness of the revised aspects of

the EEO-1 form.” Rao Memorandum. EEOC then acceded to this decision, publishing the

following in the Federal Register: “until further notice, filers subject to the EEO-1 reporting

requirement should not submit aggregate W-2 income and hours worked data under Component

2 of the EEO-1.” See Compl ¶ 99.18 There was nothing tentative or interlocutory about the

decision to lift the effectiveness of this requirement: Defendants decided to lift the reporting

obligation and took action effectuating that decision. See Clean Air Council, 862 F.3d at 7 (a stay

“‘mark[s] the consummation of ... [the agency’s] decisionmaking process’ with respect to the

final rule’s effective date” (quoting Bennett, 520 U.S. at 178)). As the Clean Air Council court

explained, suspending a rule’s compliance deadlines pending reconsideration of the rule “is

essentially an order delaying the rule’s effective date, and this court has held that such orders are

tantamount to amending or revoking a rule.” Clean Air Council, 862 F.3d at 8. So too, the stay

decision here is tantamount to revoking the pay data component of the EEO-1 reporting

requirements set for March 31, 2018, regardless of OMB’s reconsideration process.

       By Defendants’ reasoning, any stay accompanying a formal reconsideration process

could not be challenged as final, regardless of whether the reconsideration process was

accompanied by immediate and real consequences. The D.C. Circuit squarely foreclosed this

argument in Clean Air Council, concluding that an agency’s consummated decision to lift

binding legal requirements (such as by staying the effective date of a rule) is final regardless of




18
   Defendants’ footnoted assertion that the EEOC should be dismissed because there are no
allegations that it engaged in unlawful conduct, see Mot. at 5 n.12, is therefore misplaced. The
EEOC implemented the unlawful stay and is also a necessary party for relief.

                                                 38
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 41 of 45




whether it purports to be engaged in a reconsideration process.19 See Clean Air Council, 862 F.3d

at 7 (rejecting argument that proceedings concerning the stayed rule were ongoing because, “as

we have explained, ‘the applicable test is not whether there are further administrative

proceedings available, but rather whether the impact of the order is sufficiently final to warrant

review in the context of the particular case’”) (quoting Friedman v. FAA, 841 F.3d 537, 542

(D.C. Cir. 2016)).

       Defendants’ discussion of the regulatory authority for OMB’s planned reconsideration is

therefore a non sequitur. Defendants are conflating the reconsideration process provided for by 5

C.F.R. § 1320.10(f), which, standing alone, likely would not have any final consequences, with

the stay provision set forth in 5.C.F.R. § 1320.10(g), which has immediate and concrete legal

consequences. Indeed, even if Defendants were right that a stay that was a necessary incident of

a reconsideration process was somehow exempt from the long-standing rule applied in Clean Air

Council, this would not be such a case. Nothing in the statutory or regulatory scheme requires

OMB to stay a data collection during the review of a collection pursuant to 5 C.F.R. §

1320.10(f). To the contrary, the regulations provide different standards for a review compared to

a stay. OMB may initiate a review “when relevant circumstances have changed or the burden

estimates … were materially in error.” 5 C.F.R. § 1320.10(f). In contrast, a data collection may

only be stayed for “good cause.” Id. § 1320.10(g). A decision to stay a data collection is

necessarily separate from the decision to review an ongoing collection.

       Moreover, the regulatory scheme and Defendants’ own actions make it clear that the stay

is not an interlocutory decision. Section 1320.10(g) itself contemplates such final consequences,



19
  The cases cited by Defendants at 24-25 are inapposite, because they involve ongoing agency
proceedings unaccompanied by final action akin to a stay.

                                                39
      Case 1:17-cv-02458-TSC           Document 16        Filed 02/27/18      Page 42 of 45




requiring that the collecting agency provide notice of the stay in the Federal Register. See Ctr.

for Auto Safety v. Nat’l Highway Traffic Safety Admin., 452 F.3d 798, 806–07 (D.C. Cir. 2006)

(identifying publication in the Federal Register as a relevant factor in determining finality). OMB

itself implicitly acknowledged the distinction between the review and the stay decisions in the

Rao Memorandum, which set forth separate (albeit extremely limited) analysis for each, and

explained that “OMB has also decided to stay immediately the effectiveness of revised aspects

of the EEO-1 form…”). See Rao Memorandum (emphasis added); see also Ctr. for Auto Safety,

452 F.3d at 806–07 (an “agency’s expressed intentions” are relevant to whether agency action is

deemed final).

       B. Staying the Pay Data Collection Determines Rights and Obligations, and has
          Legal Consequences.

       The stay also affects the rights and obligations of regulated parties and has legal

consequences, thereby meeting the second prong of the Bennett test for finality. See Bennett, 520

U.S. at 178. Covered employers had a legally binding and enforceable obligation to submit

employee pay data to the EEOC, first due in March 2018, which Defendants’ actions have

eliminated. Specifically, employers with 100 or more employees (and federal contractors and

subcontractors with 50 or more employees) are required by regulation to file the EEO-1. See

Compl. ¶ 56 (citing 29 C.F.R. § 1602.7; 41 C.F.R. § 60-1.7). False reporting subjects covered

employers to fines or imprisonment, and those that fail to report may be compelled by court

order to do so. See Compl. ¶ 56 n.26 (citing 29 C.F.R. §§ 1602.8, 1602.9). Because the stay

removes pay data from this compulsory requirement, it has legal consequences and is final now,

regardless of the outcome of OMB’s “reconsideration” process. Indeed, Defendants admit that

EEO-1 filers’ “obligation to submit the Component 2 pay data has been stayed during the

pendency of OMB’s review.” Mot. at 27. Just as Clean Air Council’s determination that the stay


                                                40
      Case 1:17-cv-02458-TSC            Document 16        Filed 02/27/18      Page 43 of 45




of a rule’s effective date affected the rights and obligations of regulated entities because it

relieved those entities of a deadline by which they had to complete monitoring surveys and repair

leaks, so too here, the stay “eliminates” the threat of enforcement for noncompliance “and thus

relieves regulated parties of liability they would otherwise face.” Clean Air Council, 862 F.3d at

7.

       Defendants’ novel argument that the stay must regulate Plaintiffs directly to be

considered final, Mot. at 27, is refuted by well-established law. As the D.C. Circuit said in a case

where home builders challenged a change in the Army Corps of Engineers’ permitting process

that impacted their ability to obtain permits and environmental groups intervened, “[b]ecause the

Corps’ [new permitting policies] mark the completion of the Corps’ decision-making process and

affect the [regulated entities’] day-to-day operations, they constitute final agency action

regardless of the fact that the Corps’ action might carry different (or no) consequences for a

different challenger, such as an environmental group.” Nat’l Ass’n of Home Builders v. U.S.

Army Corps of Engineers, 417 F.3d 1272, 1281 (D.C. Cir. 2005) (emphasis added); accord, e.g.,

Clean Air Council, 862 F.3d at 1 (finding a stay of a standard regulating emissions “by the oil

and natural gas industries” to be final in a suit brought by “environmental organizations” not

regulated by the stayed action).

       Accepting Defendants’ argument would lead to the nonsensical result that an agency

action would be final with regard to certain entities that are directly regulated—here, the EEO-1

filers—but not final with regard to entities that are not directly regulated. The question of

whether entities that are not directly regulated were sufficiently impacted in order to bring a

claim is appropriate for the standing inquiry, which is why Defendants rehash their arguments




                                                  41
         Case 1:17-cv-02458-TSC         Document 16       Filed 02/27/18      Page 44 of 45




related to Plaintiffs’ injuries here, but has no bearing on whether the agency action in question is

final.

         Defendants’ case citations do not change this conclusion because none of them addressed

an agency’s action with any legal consequences. See Reliable Automatic Sprinkler Co., Inc., v.

Consumer Prod. Safety Comm’n, 324 F.3d 726, 732 (D.C. Cir. 2003) (“Here, the agency has not

yet taken the steps required under the statutory and regulatory scheme for its actions to have any

legal consequences.”); DRG Funding Corp. v. Sec’y of Housing and Urban Dev., 76 F.3d 1212,

1215 (agency action was not final in part because there had been no “legal consequences” to any

entity); Gulf Restoration Network, Inc. v. Nat'l Marine Fisheries, Serv., 730 F. Supp. 2d 157,

171-72 (D.D.C. 2010) (challenged action was not final because it “did not require or forbid any

action”). In contrast, the stay here lifts covered employers’ obligation to submit employee pay

data without any further action. Just as in Clean Air Council, “because the stay relieves regulated

parties of any obligation to meet the [regulatory] deadline … the order is sufficiently final to

warrant review” regardless of whether the challenger is a regulated party or another entity

injured by the agency action. 862 F.3d at 7.

                                          CONCLUSION

         For the forgoing reasons, Plaintiffs’ respectfully request that the Court deny Defendants’

Motion to Dismiss in its entirety.




                                                 42
    Case 1:17-cv-02458-TSC   Document 16    Filed 02/27/18      Page 45 of 45




Dated: February 27, 2018             Respectfully submitted,

                                    /s/ Robin F. Thurston___
                                    Javier M. Guzman
                                    (DC Bar No. 462679)
                                    Robin F. Thurston (DC Bar No. pending)
                                    (pro hac vice)
                                    Jeffrey B. Dubner (DC Bar No. 1013399)
                                    Democracy Forward Foundation
                                    P.O. Box 34553
                                    Washington, DC 20043
                                    (202) 448-9090
                                    jguzman@democracyforward.org
                                    rthurston@democracyforward.org
                                    jdubner@democracyforward.org

                                    Fatima Goss Graves (DC Bar No. 481051)
                                    Emily J. Martin (DC Bar No. 991968)
                                    Sunu Chandy (DC Bar No. 1026045)
                                    Maya Raghu (DC Bar No. 1035558)
                                    National Women’s Law Center
                                    11 Dupont Circle, NW, Ste 800
                                    Washington, DC 20036
                                    (202) 588-5180
                                    fgraves@nwlc.org
                                    emartin@nwlc.org
                                    schandy@nwlc.org
                                    mraghu@nwlc.org

                                     Attorneys for Plaintiffs




                                   43
